                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE



UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )      No. 3:06-CR-100
                                                    )      (Phillips)
MELVIN SKINNER, and SAMUEL SKINNER                  )




                                      ORDER

             This matter is before the court on the government’s motion to dismiss

defendants Melvin Skinner and Samuel Skinner from the superseding indictment filed on

December 19, 2006 [Doc. 90].      No objections have been received to the motion.

Accordingly, the government’s motion is GRANTED, whereby defendants Melvin Skinner

and Samuel Skinner are DISMISSED from the superseding indictment filed in Criminal

Action No. 3:06-CR-100.



             IT IS SO ORDERED.



                                       ENTER:


                                             s/ Thomas W. Phillips
                                           United States District Judge




Case 3:06-cr-00100-PLR-HBG     Document 91      Filed 08/22/07   Page 1 of 1   PageID
                                     #: 385
